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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11     SAN DIEGO COUNTY LODGING                           Case No.: 20-cv-2151-WQH-MDD
       ASSOCIATION,
12
                                         Plaintiff,       ORDER
13
       v.
14
       THE CITY OF SAN DIEGO; and UNITE
15
       HERE LOCAL 30,
16                                    Defendants.
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18    HAYES, Judge:

19           Pursuant to the parties’ Joint Motion to Dismiss Complaint with Prejudice (ECF No.

20    52),

21           IT IS HEREBY ORDERED that Plaintiff’s Complaint is dismissed with prejudice

22    pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure. Each party shall

23    bear their own fees and costs. The Clerk of the Court shall close the case.

24     Dated: October 26, 2021

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